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                       BEFORE THE UNITED STATES
              JUDICIAL PANEL ON MULTIDISTRICT LITIGATION

   IN RE: FTX Cryptocurrency Exchange                       MDL Docket 3076
   Collapse Litigation


                             SCHEDULE OF ACTIONS

      Case Captions                Court           Civil Action No.       Judge

Plaintiff:                     United States        1:23-cv-20700     Jose E. Martinez
• Connor O’Keefe             District Court for
                               the Southern
Defendant:                   District of Florida
• Sequoia Capital
   Operations, LLC
• Silvergate Bank
• Signature Bank
• Deltec Bank and Trust
   Company Limited
• Farmington State Bank
• Jean Chalopin
• Thoma Bravo L.P
• Toggle Section
• Paradigm Operations LP.
• Temasek Holdings
   (Private) Limited
• Softbank Vision Fund
   (AIV M2) L.P.
• Ribbit Capital, L.P.
• Altimeter Capital
   Management, LP
• Multicoin Capital
   Management LLC
• Tiger Global Management,
   LLC
• Sino Global Capital
   Limited
• Fenwick & West LLP
• Prager Metis CPAs, LLC
• Armanino, LLP
• Softbank Group Corp.
